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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0507V
                                       Filed: July 22, 2019
                                         UNPUBLISHED


    JULIO SAMBLE, on behalf of
    J.J.S., a Minor,
                                                              Special Processing Unit (SPU);
                         Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                        Causation-In-Fact; Diphtheria
                                                              Tetanus acellular Pertussis (Dtap)
    SECRETARY OF HEALTH AND                                   Vaccine; Hepatitis B (Hep B)
    HUMAN SERVICES,                                           Vaccine; Measles Mumps Rubella
                                                              (MMR) Vaccine; Inactivated Polio
                        Respondent.                           (IPV) Vaccine; Varicella Vaccine;
                                                              Shoulder Injury Related to Vaccine
                                                              Administration (SIRVA)


Russell Anthony Murray, Lovett Law Firm, El Paso, TX, for petitioner.
Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On April 5, 2019, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that as a result of diphtheria-tetanus-acellular pertussis
(“DTap”), Hepatitis B (“Hep B”), measles-mumps-rubella (“MMR”), inactivated polio
(“IPV”), and/or varicella vaccinations administered on April 6, 2016, J.J.S. suffered from
1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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a left arm abscess. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

        On July 22, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent indicates that “a preponderance of the medical evidence
establishes that J.J.S.’s cellulitis and/or abscess was caused-in-fact by one or more of
the vaccines he received on April 6, 2016.” Id. at 3. Respondent further agrees that no
other causes for J.J.S.’s injury was identified, and the medical records demonstrate that
J.J.S. underwent an inpatient hospitalization and surgical intervention to meet the
severity requirement under the Vaccine Act. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
